
36 N.Y.2d 983 (1975)
Champion International Corporation, Respondent-Appellant,
v.
Dependable Industries Corp., Defendant, and Robert S. Miner, Appellant-Respondent.
Court of Appeals of the State of New York.
Decided June 17, 1975.
Kronish, Lieb, Shainswit, Weiner &amp; Hellman for respondent-appellant.
Benedict Ginsberg for appellant-respondent.
Main appeal dismissed by the Court of Appeals sua sponte, without costs, upon the ground that the modification at the Appellate Division is not in a respect "which is within the power of the court of appeals to review" (CPLR 5601, subd [a], par [iii]).
Cross appeal dismissed by the Court of Appeals sua sponte, without costs, upon the ground that the cross-appellant is not aggrieved by the modification at the Appellate Division (CPLR 5601, subd [a], par [iii]).
